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 1                                                                   The Honorable John C. Coughenour

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 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE

 9   ESSEX INSURANCE COMPANY, a Delaware )
     Corporation,                                 )
10                                                )           No. C09-0541
                                       Plaintiff, )
11                                                )           DEFENDANT SEATTLE HOUSING
            v.                                    )           AUTHORITY’S ANSWER,
12                                                )           AFFIRMATIVE DEFENSES, AND
     PACIFIC COMPONENTS, INC., a Washington )                 COUNTERCLAIM
13   corporation, ABSHER CONSTRUCTION             )
     COMPANY, a Washington joint venture, and )
14   SEATTLE HOUSING AUTHORITY, a                 )
     Washington municipal corporation,            )
15                                                )
                                    Defendants. )
16                                                )

17                COMES NOW Defendant Seattle Housing Authority, (hereinafter “SHA”) by and

18   through its counsel of record, Foster Pepper PLLC and answers Plaintiff’s Essex Insurance

19   Company’s (hereinafter “Essex”) Complaint For Declaratory Judgment, paragraph by paragraph,

20   and asserts its affirmative defenses, and a counterclaim against Essex as follows:

21                                                  I.     PARTIES
22                1.1   Defendant SHA is without knowledge or information sufficient to form a belief as
23   to the truth of the allegations in paragraph 1.1 and therefore denies them.
24                1.2   Defendant admits the allegations in paragraph 1.2.
25                1.3   Defendant admits the allegations in paragraph 1.3.
26

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     Case No. C09-0541
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 1                1.4   Defendant admits the allegations in paragraph 1.4.

 2                1.5   Defendant admits the allegations in paragraph 1.5.

 3
                                          II.    JURISDICTION AND VENUE
 4                2.1   Defendant SHA is without knowledge or information sufficient to form a belief as
 5   to the truth of the allegations in paragraph 2.1 and therefore denies them.
 6                2.2   Defendant SHA is without knowledge or information sufficient to form a belief as
 7   to the truth of the allegations in paragraph 2.2 and therefore denies them.
 8                2.3   Defendant SHA is without knowledge or information sufficient to form a belief as
 9   to the truth of the allegations in paragraph 2.3 and therefore denies them.
10
                                                       III.   FACTS
11
                  3.1   Suits.
12
                        (a)      Defendant admits the allegations in paragraph 3.1(a).
13
                        (b)      Defendant SHA admits that the NewHolly Homeowners’ Association’s
14
     (“NHHA”) Complaint referred to in paragraph 3.1(b) speaks for itself.                     To the extent the
15
     Complaint is incorrectly cited, or NHHA’s allegations are incorrectly cited, paragraph 3.1(b) is
16
     denied. All allegations not expressly admitted are denied.
17
                  3.2   Tender. Defendant SHA is without knowledge or information sufficient to form a
18
     belief as to the truth of the allegations regarding Pacific Components, Inc.’s (hereinafter “PCI”)
19
     tender of defense in the SHA suit to Essex, or that Essex is defending PCI under a full
20
     reservation of rights. Defendant SHA admits that it tendered its defense in the NHHA suit to
21
     Essex and that Essex has denied coverage and denied any duty to defend in the NHHA suit. All
22
     allegations not expressly admitted are denied.
23
                  3.3   Defendant SHA is without knowledge or information sufficient to form a belief as
24
     to the truth of the allegations in paragraph 3.3 and therefore denies them.
25

26

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 1                3.4   Defendant SHA is without knowledge or information sufficient to form a belief as

 2   to the truth of the allegations in paragraph 3.4 and therefore denies them.

 3
                                               IV.     CLAIM FOR RELIEF
 4                4.1   Defendant SHA is without knowledge or information sufficient to form a belief as
 5   to the truth of the allegations in paragraph 4.1 and therefore denies them.
 6                4.2   Defendant SHA is without knowledge or information sufficient to form a belief as
 7   to the truth of the allegations in paragraph 4.2 and therefore denies them.
 8                4.3   Defendant SHA is without knowledge or information sufficient to form a belief as
 9   to the truth of the allegations in paragraph 4.3 and therefore denies them.
10                      (a)    Defendant SHA is without knowledge or information sufficient to form a
11   belief as to the truth of the allegations in paragraph 4.3(a) – (r), and therefore denies them.
12                4.4   Defendant SHA is without knowledge or information sufficient to form a belief as
13   to the truth of the allegations in paragraphs 4.4 (a) – (c), and therefore denies them.
14
                                          V.         AFFIRMATIVE DEFENSES
15
                  By way of further answer to the Complaint and without waiving any allegations
16
     previously denied, SHA asserts the following defenses and affirmative defenses:
17

18                5.1   Essex’s action may be premature with respect to certain claims against certain

19   parties, in which case it would fail to present a justiciable controversy.

20                5.2   Essex has failed to state a claim upon which relief may be granted.

21                5.3   Essex’s claims are barred under the doctrine of waiver, estoppel, and/or laches.

22                5.4   Essex’s claims are barred under the doctrine of unclean hands.
23                5.5   Essex has failed to satisfy one or more conditions precedent to the filing of its
24
     claim, as imposed by applicable state law.
25
                  5.6   Essex has breached the contract it purportedly seeks to enforce.
26

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 1                5.7   To the extent Essex attempts to invoke limitations or restrictions set forth in

 2   policy provisions contained in renewal policies but not prior policies issued to PCI or SHA,
 3
     Essex failed to give adequate written explanation to PCI or SHA, pursuant to RCW
 4
     48.18.2901(2) and the common law, of such limitations or restrictions alleged to reduce
 5
     coverage.
 6
                  5.8   Essex’s claims rely upon alleged facts extrinsic to the complaint against the SHA
 7

 8   in the underlying suit that may not be considered in determining whether Essex has a duty to

 9   defend SHA against the claims asserted in the underlying suit.
10                5.9   SHA reserves the right to allege additional affirmative defenses based upon future
11   litigation and discovery in this action. Nothing contained in this Answer should be construed as
12   a waiver of any such additional defenses.
13
                                           VI.    SHA’S COUNTERCLAIM
14
                  By way of further answer to the Complaint and without waiving their denial of any
15
     allegations made in the Amended Complaint, SHA asserts the following counterclaim against
16
     Essex.
17

18                FIRST COUNTERCLAIM: DECLARATORY JUDGMENT/DAMAGES CLAIM

19                6.1   SHA incorporates herein by reference so much of the other portions of this
20   pleading as is not inconsistent with this first counterclaim.
21
                  6.2   Washington insurance law entitles SHA to a declaratory judgment that Essex is
22
     obligated to defend, potentially indemnify, and fund a reasonable settlement on behalf of SHA in
23
     the underlying NHHA suit.
24

25                6.3   To the extent Essex does not agree to satisfy its coverage obligations and/or pay

26   such amounts, SHA is entitled to an award of damages from Essex equal to the full unpaid cost

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 1   of defending against the underlying suit, settling those suits, and potentially the full amount of an

 2   adverse judgment entered in those suits. The specific amount of damages will be proven at
 3
     hearing or trial.
 4
                  6.4      SHA reserves the right to amend this pleading to add a bad faith counterclaim
 5
     based on improper actions subsequently taken by Essex– for example, to the extent Essex
 6
     conducts this litigation in a manner that threatens to prejudice the defense of the underlying suit.
 7

 8                                            VII.    REQUEST FOR RELIEF
 9                Defendant SHA requests that the Court:
10                A.       Dismissal of Essex’s Complaint and denial of all relief requested therein by
11   Essex;
12                B.       A judgment declaring that Essex is obligated to provide a defense, settlement
13   funding, and potentially indemnification in the underlying suit, and that accordingly Essex is
14   obligated to pay SHA monetary damages resulting from Essex’s failure to provide that coverage,
15   including but not limited to the full unpaid cost of such defense, settlement, and/or potentially a
16   judgment entered in that suit, in an amount to be proven at hearing or trial;
17                C.       A judgment awarding SHA the monetary damages to which it is entitled on its
18   counterclaim;
19                D.       A judgment awarding SHA costs and attorney fees to the full extent allowed by
20   law (e.g., pursuant to the Olympic Steamship doctrine);
21                E.       Prejudgment and postjudgment interest on the above amounts to the full extent
22   allowed by law;
23                F.       Permission to amend this pleading to conform to proof obtained through
24   discovery and trial; and
25

26

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 1                G.    Such other relief as this Court deems just and equitable.

 2

 3                DATED this 13th day of May, 2009.

 4                                                          FOSTER PEPPER PLLC

 5

 6                                                                /s/ Colm P. Nelson
                                                            Edward R. Coulson, WSBA No. 14014
 7                                                          Colm P. Nelson, WSBA No. 36735
                                                            Attorneys for Defendant, Seattle Housing
 8                                                          Authority

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 1                                          DECLARATION OF SERVICE
 2                I, Colleen Hickman, state that I am a citizen of the United States of America and a
 3   resident of the State of Washington, I am over the age of twenty one years, I am not a party to
 4   this action, and I am competent to be a witness herein. I electronically filed the DEFENDANT
 5   SEATTLE HOUSING AUTHORITY’S ANSWER TO PLAINTIFF’S COMPLAINT with
 6   the Clerk of the Court using the CM/ECF System which will send notification of such filing to

 7   the following parties who have appeared in this action as of today’s date:

 8         •      Jaime Drozd Allen
 9                jallen@omwlaw.com
           •      Lee Corkrum
10
                  lcorkrum@omwlaw.com,sbordeaux@omwlaw.com
11
           •      Michael P Grace
12                mgrace@groffmurphy.com,sdamianick@groffmurphy.com

13         •      Michael J Murphy
                  mmurphy@groffmurphy.com,brusso@groffmurphy.com
14
           •      Douglas Kenneth Weigel
15                dweigel@floyd-ringer.com,ebeck@floyd-ringer.com
16

17                There are no other parties who have appeared in this action as of today’s date that need to

18   be served manually.

19                I DECLARE under penalty of perjury under the laws of the State of Washington that the

20   foregoing is true and correct.

21                DATED this 13th day of May, 2009.

22

23
                                                               Colleen Hickman
24

25

26

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